Case 2:23-cv-12886-SFC-EAS ECF No. 37-10, PagelD.1587 Filed 10/07/24 Page1of5

Appendix J

80
726

96

Case Zsa 3 BEGSTSABER SEE BA S44 CRON. 188 1 Blep Ae Aq(341 Sage fd 10/07/24 Page 2 of 5

Docket No. 318046
Court of Appeals of Michigan.

Grimmer v. Lee

310 Mich. App. 95 (Mich. Ct. App. 2015) * 872 N.W.2d 725
Decided Mar 26, 2015

Docket No. 318046.
03-26-2015
GRIMMER v. LEE.

McKeen & Associates, PC (by Horia R. Neagos),
and Bendure & Thomas, Detroit (by Mark R.
Bendure), for Donald Grimmer. Giarmarco,
Mullins & Horton, PC (by Bruce E. Bigler,
Christopher J. Ryan, Troy, and Jennifer A.
Engelhardt, Ann Arbor), for Bay Regional
Medical Center and Bay Regional Heart and
Vascular.

PER CURIAM.

*726

McKeen & Associates, PC (by Horia R. Neagos),
and Bendure & Thomas, Detroit (by Mark R.
Bendure), for Donald Grimmer.

Giarmarco, Mullins & Horton, PC (by Bruce E.
Bigler, Christopher J. Ryan, Troy, and Jennifer A.
Engelhardt, Ann Arbor), for Bay Regional
Medical Center and Bay Regional Heart and
Vascular.

Opinion
PER CURIAM.

*96 Plaintiff, Donald Grimmer, brought a medical
malpractice action against a handful of defendants
*97 including two cardiologists (defendants Daniel
T. Lee, M.D., and Stephen J. Mattichak, M.D.)
and a vascular surgeon (defendant Antonio
Vasquez, M.D.). The cardiology defendants and

casetext

727 their principals sought summary disposition *727

439

based on Grimmer's failure to file an affidavit of
merit signed by a cardiologist. Before hearing that
motion, the circuit court dismissed Dr. Vasquez
and his professional corporation without prejudice
for want of service.

Grimmer's complaint alleged that two defendants,
Bay Regional Medical Center (BRMC) and Bay
Regional Heart and Vascular (BRHV), bore
vicarious liability for Dr. Vasquez's negligence.
Neither defendant filed a motion seeking summary
disposition of the vicarious liability claims.
Nevertheless, the circuit court dismissed the
vicarious liability allegations with prejudice. This
was error, and we reverse and remand for further
proceedings.

I. BACKGROUND FACTS AND
PROCEEDINGS

Melody Grimmer died one day after undergoing a
cardiac catheterization performed by Dr.
Mattichak. An autopsy concluded that a
retroperitoneal hematoma containing 3,000 grams
of unclotted blood triggered a fatal
cardiopulmonary arrest. According to the
complaint, defendant Vasquez had examined
Melody after the catheterization, recognized the
presence of the hematoma, but declined to operate.
The complaint and an accompanying affidavit of
merit charge that Dr. Vasquez's failure to intercede
constitutes professional negligence.

The complaint also sets forth malpractice claims
against Dr. Mattichak and another cardiologist, Dr.
Lee. However, Grimmer never filed an affidavit of

81
98

CAC ASS OA BESTS SEC BAS ECHO 238 Ha ys Pade 158% *Fi8d 10/07/24 Page 3 of 5

merit attesting to the cardiologists' negligence.
They *9s filed a summary disposition motion on
that ground, invoking MCL 600.2912d(1) and
MCL 600.2169(1)(a). Counsel for the BRMC and
the professional corporations employing Drs. Lee
and Mattichak joined in the motion.' Notably,
none of the summary disposition motions or
accompanying briefs mentioned Dr. Vasquez, and
none sought summary disposition regarding the
complaint's averments of Dr. Vasquez's direct
liability or the vicarious liability flowing from his
conduct.

' BRMC, BRHV, and defendant Michigan
Cardiovascular Institute all sought
summary disposition of claims alleging
vicarious liability for the negligence of
Drs. Lee and Mattichak.

After the cardiologists' summary disposition
motion was filed but before it was heard, the
circuit court entered an order dismissing Dr.
Vasquez and his professional corporation without
prejudice, noting that these two defendants had not
been served with process.

During the summary disposition hearing, the
circuit court read aloud an e-mail written by
Grimmer's counsel and provided by the attorney
for the cardiologists, BRMC and BRHV. The
email stated: “ ‘I am writing to advise you that I
will not be appearing at [the] motion today. We
will not oppose your motion for summary
disposition as to the cardiologists but we cannot
stipulate.’ ” Defendants’ counsel then reminded
the court that Dr. Vasquez and his professional
corporation had been dismissed for failure to
serve, continuing:

casetext

99

In view of that, your Honor, I have
prepared an order that dismisses Dr. Lee,
Dr. Mattichak, and [BRMC], with
prejudice, because the only claims against
[BRMC] is [sic] vicarious for the acts of
Dr. Lee and Dr. Mattichak, as well as Dr.
Vasquez. If Dr. Vasquez is not a party to
this *99 lawsuit, we can't be vicariously
liable for him. And, therefore, the order I
have prepared would be a_ permanent
dismissal for Dr. Lee, Dr. Mattichak, and
[BRMC].

The court entered an order providing in relevant
part:

728 *728 IT IS HEREBY ORDERED | that

440

Defendants [BRMC]; [BRHV]; Dr. Daniel Lee
and Dr. Stephen Mattichak's Motion for Summary
Disposition is GRANTED and all claims against
Dr. Daniel Lee and Dr. Stephen Mattichak and any
claims of vicarious liability against [BRHV] and
[BRMC] related to Dr. Daniel Lee, Dr. Stephen
Mattichak and Dr. Antonio Vasquez, M.D., are
dismissed with prejudice.

Grimmer now appeals as of right from the portion
of this order granting summary disposition of
Grimmer's vicarious liability claims against
BRMC and BRHV premised on Dr. Vasquez's
negligence.

Il. ANALYSIS

The circuit court should not have summarily
dismissed the vicarious liability claims stemming
from Dr. Vasquez's negligence for two reasons.
First, none of the defendants filed a motion
seeking summary disposition of the Vasquez-
related allegations. Second, had such a motion
been filed, it would have been unsuccessful.

Defendants sought summary disposition under
MCR 2.116(C)(7) and (8). A motion brought
under either of these subrules “must specify the
grounds on which it is based[.]” MCR 2.116(C).
Defendants' summary disposition motions and
briefs made no mention whatsoever of the

82
100

CASED PRETO EOE SEE EAS AE CN LS? le PAe IE 1588 4 Piled 10/07/

vicarious liability claims pleaded in Grimmer's
complaint flowing from Dr. Vasquez's actions and
inactions. Nowhere in the summary disposition
pleadings did defendants “specify” that summary
*100 disposition was sought regarding the claims
related to Dr. Vasquez. Although the court rules
afford a circuit court the authority to grant
summary disposition based on the pleadings, “the
trial court may not do so in contravention of a
party's due process rights.” A/—Maliki v. LaGrant,
286 Mich.App. 483, 489, 781 N.W.2d 853 (2009).

Grimmer's counsel had no notice that the circuit
court intended to consider the dismissal of the
indirect liability claims raised in relation to Dr.
Vasquez, and no reason to anticipate that defense
counsel and the court would sua sponte enlarge the
pending summary’ disposition motion to
incorporate a legal issue never before mentioned.
In summarily dismissing the defendants who
allegedly bore vicarious liability for Dr. Vasquez's
negligent acts, the circuit court bypassed the basic
due process requirements of notice and an
opportunity to be heard. For this reason, we must
reverse the circuit court.

Further, we respectfully reject defense counsel's
contention, made during oral argument in this
Court, that Grimmer should be penalized for his
counsel's failure to personally attend the motion
hearing. Counsel cannot be faulted for deferring a
personal appearance after having clearly
communicated that she had no objection to the
specific relief sought in the motions actually filed.
Alternatively stated, Grimmer's attorney was
entitled to rely on the good faith of her opposing
counsel.

Summary disposition of the vicarious liability
claims involving Dr. Vasquez was improper for a
second reason as well. Defense counsel's
declaration that “[i]f Dr. Vasquez is not a party to
this lawsuit, we can't be vicariously liable for him”
is fundamentally incorrect.

casetext

101

729

102

441

“101 In a medical malpractice case, “[a] hospital
may be 1) directly liable for malpractice, through
claims of negligence in supervision of staff
physicians as well as selection and retention of
medical staff, or 2) vicariously liable for the
negligence of its agents.” Cox v. Flint Bd. of Hosp.
Managers, 467 Mich. 1, 11, 651 N.W.2d 356
(2002). This Court explained in *729 Nippa v.
Botsford Gen. Hosp. (On Remand), 257
Mich.App. 387, 392, 668 N.W.2d 628 (2003), that
“the law creates a practical identity between a
principal and an agent, and, by a legal fiction, the
hospital is held to have done what its agents have
done.” In Cox and Nippa, the defendant hospitals
were charged with the vicarious liability of nurses
or physicians who were not named as individual
defendants. In A/—Shimmari v. Detroit Med. Ctr,
477 Mich. 280, 294-295, 731 N.W.2d 29 (2007),
the Supreme Court elucidated: “Nothing in the
nature of vicarious liability ... requires that a
judgment be rendered against the negligent agent.
Rather, to succeed on a vicarious liability claim, a
plaintiff need only prove that an agent has acted
negligently.” As these cases demonstrate, a
plaintiff need not necessarily name the agent as a
defendant when suing the principal. Alternatively
stated, a plaintiff may elect to sue the principal
alone, or to sue the principal and the agent
together.

Grimmer sued the two together. His complaint
alleges that Dr. Vasquez acted as an agent of
BRMC and BRHV. Apparently, the circuit court
believed that because it had dismissed Dr. Vasquez
from the litigation without prejudice, BRMC and
BRHV could not be held legally responsible for
Dr. Vasquez's negligence. In their appellate brief,
defendants argue that due to the dismissal,
Grimmer's direct liability claim against Dr.
Vasquez is no longer “viable,” thereby
extinguishing defendants' vicarious liability.

*102 When a litigant chooses to proceed against an
agent “and has been defeated, he is thereby barred
from litigating the same cause of action against the
principal. It follows that a determination of the

PA Page 4of5

83
103

CAS ASRS: BRC ST CIES SHE MAS cb GRIND LS? 1d oe eib 158% SF lied 10/07/24 Page 5 of5

issue in a suit brought against the principal bars an
action against the agents.” DePolo vy. Greig, 338
Mich. 703, 709-710, 62 N.W.2d 441 (1954)
(quotation marks and citations omitted). A
dismissal with prejudice amounts to an
adjudication on the merits and bars a further action
based on the same facts. But a dismissal without
prejudice is not a dismissal on the merits. Yeo v.
State Farm Fire & Cas. Ins. Co., 242 Mich.App.
483, 484, 618 N.W.2d 916 (2000). Our Supreme
Court has described that the term “without
prejudice” signifies “a right or privilege to take
further legal proceedings on the same subject, and
show that the dismissal is not intended to be res
adjudicata of the merits.” McIntyre v. McIntyre,
205 Mich. 496, 499, 171 N.W. 393 (1919)
(quotation marks and citation omitted). “A
dismissal of a suit without prejudice is no decision
of the controversy on its merits, and leaves the
whole subject of litigation as much open to
another suit as if no suit had ever been brought.”
Id. (quotation marks and citation omitted).

The Supreme Court's opinion in A/-Shimmari
erects no barrier to reinstating this case. In that
case, the circuit court granted the physician-
agent's motion for summary disposition with
prejudice. The Supreme Court highlighted that
“the trial court stated in its order that the dismissal
was ‘with prejudice.” ” Al-Shimmari, 477 Mich. at
295, 731 N.W.2d 29. “Therefore,” the Court *103
continued, “under MCR 2.504(B)(3), the dismissal
of the claims against [the physician] ‘operates as
an adjudication on the merits.’ ” /d.
2 Like this case, the dismissal at issue in A/—

Shimmari arose from a failure to serve

process on a defendant physician. But

casetext

730

442

unlike this case, the parties in A/—Shimmari
contested in an evidentiary hearing whether
service of process had been timely made.
Al-Shimmari, 477 Mich. at 286, 731
N.W.2d 29. Following that hearing, the
defendant physician moved for, and was
granted, dismissal with prejudice. /d. at
286, 295, 731 N.W.2d 29.

Because the remaining defendants may only be
vicariously liable on the basis of the imputed
negligence of *730 [plaintiffs physician], plaintiff
must demonstrate that [his physician] was
negligent in order for the remaining defendants to
be found vicariously liable. However, the
dismissal of the claims against [the physician]
operates as an adjudication on the merits of the
claims against [him]. Plaintiff consequently is
unable to show that the remaining defendants are
vicariously liable for the acts of [the physician],
because the dismissal of the claims against [the
physician] prevents plaintiff from arguing the
merits of the negligence claim against [him]. [/d.
at 295-296, 731 N.W.2d 29.]

The dismissal without prejudice of Dr. Vasquez
entered by the circuit court was not an
adjudication on the merits. Thus, it did not bar an
action against Dr. Vasquez's principals. The circuit
court erred by affording its “without prejudice”
dismissal order preclusive effect.

Accordingly, we reverse and remand for
proceedings consistent with this opinion. We do
not retain jurisdiction. Having prevailed in full,
Grimmer may tax costs pursuant to MCR 7.219.

SHAPIRO, P.J., and GLEICHER and RONAYNE
KRAUSE, JJ., concurred.

84
